                Case 18-02013-hb                  Doc 1         Filed 04/20/18 Entered 04/20/18 08:38:12                               Desc Main
                                                                 Document Page 1 of 52
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Lillie
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Mosley
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Barthwell
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Lillie Pearl Barthwell
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7838
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
                Case 18-02013-hb               Doc 1        Filed 04/20/18 Entered 04/20/18 08:38:12                              Desc Main
                                                             Document Page 2 of 52
Debtor 1   Lillie Mosley Barthwell                                                                    Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 115 East Deadfall Road
                                 Greenwood, SC 29649
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Greenwood
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.

                                 151 East Deadfall Road
                                 Greenwood, SC 29649
                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
               Case 18-02013-hb                 Doc 1         Filed 04/20/18 Entered 04/20/18 08:38:12                               Desc Main
                                                               Document Page 3 of 52
Debtor 1    Lillie Mosley Barthwell                                                                       Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                Case 18-02013-hb                Doc 1          Filed 04/20/18 Entered 04/20/18 08:38:12                             Desc Main
                                                                Document Page 4 of 52
Debtor 1    Lillie Mosley Barthwell                                                                        Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                Case 18-02013-hb                 Doc 1         Filed 04/20/18 Entered 04/20/18 08:38:12                            Desc Main
                                                                Document Page 5 of 52
Debtor 1    Lillie Mosley Barthwell                                                                    Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
               Case 18-02013-hb                Doc 1        Filed 04/20/18 Entered 04/20/18 08:38:12                                   Desc Main
                                                             Document Page 6 of 52
Debtor 1    Lillie Mosley Barthwell                                                                       Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Lillie Mosley Barthwell
                                 Lillie Mosley Barthwell                                           Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     April 16, 2018                                    Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
               Case 18-02013-hb                  Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                          Desc Main
                                                                  Document Page 7 of 52
Debtor 1   Lillie Mosley Barthwell                                                                        Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Alecia T. Compton                                              Date         April 16, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Alecia T. Compton
                                Printed name

                                Alecia Compton Law Office, LLC
                                Firm name

                                109 Oak Avenue
                                Suite A
                                Greenwood, SC 29646
                                Number, Street, City, State & ZIP Code

                                Contact phone     (864) 450-9042                             Email address         alecia@aleciacomptonlawoffice.com
                                5847 SC
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                 Case 18-02013-hb                        Doc 1            Filed 04/20/18 Entered 04/20/18 08:38:12                                               Desc Main
                                                                           Document Page 8 of 52
 Fill in this information to identify your case:

 Debtor 1                   Lillie Mosley Barthwell
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $              95,400.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              61,171.98

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             156,571.98

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             164,495.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $                7,451.50


                                                                                                                                     Your total liabilities $               171,946.50


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,413.75

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,412.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                   Desc Main
                                                                      Document Page 9 of 52
 Debtor 1      Lillie Mosley Barthwell                                                    Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $         1,288.75


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                 Case 18-02013-hb                              Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                                     Desc Main
                                                                               Document Page 10 of 52
 Fill in this information to identify your case and this filing:

 Debtor 1                    Lillie Mosley Barthwell
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF SOUTH CAROLINA

 Case number                                                                                                                                                      Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        115 Deadfall Road E                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the        Current value of the
        Greenwood                         SC        29649-0000                         Land                                       entire property?            portion you own?
        City                              State              ZIP Code                  Investment property                                 $95,400.00                  $95,400.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Greenwood                                                                      Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                         $95,400.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
Case 18-02013-hb   Doc 1   Filed 04/20/18 Entered 04/20/18 08:38:12   Desc Main
                           Document Page 11 of 52
              Case 18-02013-hb                       Doc 1            Filed 04/20/18 Entered 04/20/18 08:38:12                                       Desc Main
                                                                      Document Page 12 of 52
 Debtor 1        Lillie Mosley Barthwell                                                                            Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Chevrolet                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Cavalier                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                114,169                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         VIN# 1G1JC52F347118253
         Location: 115 East Deadfall                                 Check if this is community property                                $1,450.00                  $1,450.00
         Road, Greenwood SC 29649                                    (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $1,450.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Furniture, Appliances, Kitchenware, Linens
                                    Location: 115 East Deadfall Road, Greenwood SC 29649                                                                              $800.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....


Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
               Case 18-02013-hb                                  Doc 1               Filed 04/20/18 Entered 04/20/18 08:38:12                          Desc Main
                                                                                     Document Page 13 of 52
 Debtor 1          Lillie Mosley Barthwell                                                                                    Case number (if known)

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Clothing & Personal Items
                                            Location: 115 East Deadfall Road, Greenwood SC 29649                                                                      $350.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Misc. Costume Jewelry
                                            Location: 115 East Deadfall Road, Greenwood SC 29649                                                                      $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $1,250.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                          Checking Account
                                              17.1.       #3917                                   Wells Fargo                                                         $516.57


                                                          Savings Account
                                              17.2.       #3703                                   Wells Fargo                                                           $90.00


                                                          Checking Account
                                              17.3.       #2890                                   United Community Bank                                               $514.46


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:


Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
               Case 18-02013-hb                       Doc 1          Filed 04/20/18 Entered 04/20/18 08:38:12                             Desc Main
                                                                     Document Page 14 of 52
 Debtor 1         Lillie Mosley Barthwell                                                                     Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         2017 Tax Refund                                           Federal & State                     $1,306.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
               Case 18-02013-hb                          Doc 1            Filed 04/20/18 Entered 04/20/18 08:38:12                                             Desc Main
                                                                          Document Page 15 of 52
 Debtor 1        Lillie Mosley Barthwell                                                                                         Case number (if known)

29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                                value:

                                             Columbian Life
                                             Policy #9662                                                                                                                   $4,981.00


                                             Columbian Life
                                             Policy #9604                                                                                                                   $1,063.95


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
        Yes. Describe each claim.........

                                                          Personal Injury Lawsuit against CVS
                                                          Date of Accident 2/5/16
                                                          Represented by Chad L. Bacon, Foster Law Firm, 601 E.
                                                          McAbee Ave, Suite 104, Greenville, SC 29601                                                                     $50,000.00


35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................          $58,471.98


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.




Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
               Case 18-02013-hb                             Doc 1             Filed 04/20/18 Entered 04/20/18 08:38:12                                               Desc Main
                                                                              Document Page 16 of 52
 Debtor 1         Lillie Mosley Barthwell                                                                                               Case number (if known)

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                $95,400.00
 56. Part 2: Total vehicles, line 5                                                                            $1,450.00
 57. Part 3: Total personal and household items, line 15                                                       $1,250.00
 58. Part 4: Total financial assets, line 36                                                                  $58,471.98
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $61,171.98              Copy personal property total            $61,171.98

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $156,571.98




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
                 Case 18-02013-hb                    Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                            Desc Main
                                                                     Document Page 17 of 52
 Fill in this information to identify your case:

 Debtor 1                 Lillie Mosley Barthwell
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2004 Chevrolet Cavalier 114,169                                 $1,450.00                                  $1,450.00     S.C. Code Ann. §
      miles                                                                                                                    15-41-30(A)(2)
      VIN# 1G1JC52F347118253                                                               100% of fair market value, up to
      Location: 115 East Deadfall Road,                                                    any applicable statutory limit
      Greenwood SC 29649
      Line from Schedule A/B: 3.1

      Furniture, Appliances, Kitchenware,                                 $800.00                                  $800.00     S.C. Code Ann. §
      Linens                                                                                                                   15-41-30(A)(3)
      Location: 115 East Deadfall Road,                                                    100% of fair market value, up to
      Greenwood SC 29649                                                                   any applicable statutory limit
      Line from Schedule A/B: 6.1

      Clothing & Personal Items                                           $350.00                                  $350.00     S.C. Code Ann. §
      Location: 115 East Deadfall Road,                                                                                        15-41-30(A)(3)
      Greenwood SC 29649                                                                   100% of fair market value, up to
      Line from Schedule A/B: 11.1                                                         any applicable statutory limit

      Misc. Costume Jewelry                                               $100.00                                  $100.00     S.C. Code Ann. §
      Location: 115 East Deadfall Road,                                                                                        15-41-30(A)(4)
      Greenwood SC 29649                                                                   100% of fair market value, up to
      Line from Schedule A/B: 12.1                                                         any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                               Desc Main
                                                                     Document Page 18 of 52
 Debtor 1    Lillie Mosley Barthwell                                                                     Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking Account #3917: Wells                                       $516.57                                   $516.57        S.C. Code Ann. §
     Fargo                                                                                                                        15-41-30(A)(5)
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Savings Account #3703: Wells Fargo                                  $90.00                                    $90.00        S.C. Code Ann. §
     Line from Schedule A/B: 17.2                                                                                                 15-41-30(A)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking Account #2890: United                                      $514.46                                   $514.46        S.C. Code Ann. §
     Community Bank                                                                                                               15-41-30(A)(5)
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Federal & State: 2017 Tax Refund                                  $1,306.00                                 $1,306.00        S.C. Code Ann. §
     Line from Schedule A/B: 28.1                                                                                                 15-41-30(A)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Columbian Life                                                    $4,981.00                                 $4,725.00        S.C. Code Ann. §
     Policy #9662                                                                                                                 15-41-30(A)(9)
     Line from Schedule A/B: 31.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Columbian Life                                                    $1,063.95                                 $1,063.95        S.C. Code Ann. §
     Policy #9604                                                                                                                 15-41-30(A)(5)
     Line from Schedule A/B: 31.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Personal Injury Lawsuit against CVS                              $50,000.00                               $50,000.00         S.C. Code Ann. §
     Date of Accident 2/5/16                                                                                                      15-41-30(A)(12)(b)
     Represented by Chad L. Bacon,                                                         100% of fair market value, up to
     Foster Law Firm, 601 E. McAbee Ave,                                                   any applicable statutory limit
     Suite 104, Greenville, SC 29601
     Line from Schedule A/B: 34.1


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                 Case 18-02013-hb                    Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                                   Desc Main
                                                                     Document Page 19 of 52
 Fill in this information to identify your case:

 Debtor 1                   Lillie Mosley Barthwell
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     First Citizens Corp                      Describe the property that secures the claim:                     $450.00                   $500.00                   $0.00
         Creditor's Name                          HHG

         205 Main Street
                                                  As of the date you file, the claim is: Check all that
         Greenwood, SC                            apply.
         29646-2759                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Non-Purchase Money Security
       community debt

 Date debt was incurred                                    Last 4 digits of account number        1756

 2.2     Mr. Cooper                               Describe the property that secures the claim:               $142,277.00                $95,400.00           $46,877.00
         Creditor's Name                          115 Deadfall Road E Greenwood, SC
         Attn: Bankruptcy                         29649
         8950 Cypress Waters
                                                  As of the date you file, the claim is: Check all that
         Blvd                                     apply.
         Coppell, TX 75019                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage
       community debt




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
               Case 18-02013-hb                          Doc 1          Filed 04/20/18 Entered 04/20/18 08:38:12                        Desc Main
                                                                        Document Page 20 of 52
 Debtor 1 Lillie Mosley Barthwell                                                                             Case number (if know)
               First Name                  Middle Name                      Last Name


                                 Opened
                                 05/07 Last
                                 Active
 Date debt was incurred          8/31/17                     Last 4 digits of account number         5039


 2.3     OneMain                                    Describe the property that secures the claim:                     $5,589.00       $500.00       $5,089.00
         Creditor's Name                            HHG

         Attn: Bankruptcy
                                                    As of the date you file, the claim is: Check all that
         601 Nw 2nd St                              apply.
         Evansville, IN 47708                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Non-Purchase Money Security
       community debt

                                 Opened
 Date debt was incurred          10/15                       Last 4 digits of account number         0029


 2.4     Quick Credit                               Describe the property that secures the claim:                       $315.00       $500.00             $0.00
         Creditor's Name                            HHG

                                                    As of the date you file, the claim is: Check all that
         724B Montague Ave                          apply.
         Greenwood, SC 29649                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Non-Purchase Money Security
       community debt

                                 Opened
 Date debt was incurred          09/17                       Last 4 digits of account number         6578


 2.5     Security Finance                           Describe the property that secures the claim:                     $1,407.00       $500.00         $907.00
         Creditor's Name                            HHG

                                                    As of the date you file, the claim is: Check all that
         446 Calhoun Avenue                         apply.
         Greenwood, SC 29646                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 18-02013-hb                          Doc 1          Filed 04/20/18 Entered 04/20/18 08:38:12                           Desc Main
                                                                        Document Page 21 of 52
 Debtor 1 Lillie Mosley Barthwell                                                                             Case number (if know)
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   Non-Purchase Money Security
       community debt

                                 Opened
 Date debt was incurred          10/11/17                    Last 4 digits of account number         0151


 2.6     Southern Finance                           Describe the property that secures the claim:                       $432.00         $500.00              $0.00
         Creditor's Name                            HHG

         213 Main Street
                                                    As of the date you file, the claim is: Check all that
         Greenwood, SC                              apply.
         29646-2759                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Non-Purchase Money Security
       community debt

                                 Opened
 Date debt was incurred          09/17                       Last 4 digits of account number         9581


         Specialized Loan
 2.7                                                                                                                $13,535.00        $95,400.00     $13,535.00
         Servicing/SLS                              Describe the property that secures the claim:
         Creditor's Name                            115 Deadfall Road E Greenwood, SC
                                                    29649
         Attn: Bankruptcy
                                                    As of the date you file, the claim is: Check all that
         Po Box 636005                              apply.
         Littleton, CO 80163                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Second Mortgage
       community debt

                                 Opened
                                 10/07 Last
                                 Active
 Date debt was incurred          6/05/17                     Last 4 digits of account number         5803


 2.8     Western Shamrock Corp                      Describe the property that secures the claim:                       $490.00         $500.00              $0.00
         Creditor's Name                            HHG

         fdba Western Finance
                                                    As of the date you file, the claim is: Check all that
         801 S Abe St Ste A                         apply.
         San Angelo, TX 76903                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case 18-02013-hb                        Doc 1          Filed 04/20/18 Entered 04/20/18 08:38:12                                        Desc Main
                                                                     Document Page 22 of 52
 Debtor 1 Lillie Mosley Barthwell                                                                          Case number (if know)
              First Name                Middle Name                      Last Name


    Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another           Judgment lien from a lawsuit
    Check if this claim relates to a                  Other (including a right to offset)   Non-Purchase Money Security
    community debt

                              Opened
                              10/11/17
                              Last Active
 Date debt was incurred       11/09/17                    Last 4 digits of account number         Z005



   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $164,495.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $164,495.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
        Albertelli Law
        1201 Main Street, STE 1450                                                                 Last 4 digits of account number
        Columbia, SC 29201




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 4 of 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
                 Case 18-02013-hb                       Doc 1         Filed 04/20/18 Entered 04/20/18 08:38:12                                           Desc Main
                                                                      Document Page 23 of 52
 Fill in this information to identify your case:

 Debtor 1                     Lillie Mosley Barthwell
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          IRS                                                    Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              PO Box 7346                                            When was the debt incurred?
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Notice Only

 2.2          SC DEPT OF REVENUE                                     Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              PO BOX 12265                                           When was the debt incurred?
              COLUMBIA, SC 29211
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Notice Only


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                              54573                                             Best Case Bankruptcy
               Case 18-02013-hb                      Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                                           Desc Main
                                                                     Document Page 24 of 52
 Debtor 1 Lillie Mosley Barthwell                                                                           Case number (if know)

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Chad L. Bacon, Esq.                                       Last 4 digits of account number                                                                           $0.00
            Nonpriority Creditor's Name
            Foster Law Firm                                           When was the debt incurred?
            601 E. McAbee Avenue
            Suite 104
            Greenville, SC 29601
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify    Notice Only


 4.2        Comenity Capital/mprc                                     Last 4 digits of account number         3106                                                           $189.00
            Nonpriority Creditor's Name
                                                                                                              Opened 11/16 Last Active
            Po Box 182125                                             When was the debt incurred?             1/07/18
            Columbus, OH 43218
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify    Charge Account




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                                      Desc Main
                                                                     Document Page 25 of 52
 Debtor 1 Lillie Mosley Barthwell                                                                         Case number (if know)

 4.3      Fingerhut                                                  Last 4 digits of account number       3576                                                $523.00
          Nonpriority Creditor's Name
          Bankruptcy Dept                                                                                  Opened 12/06 Last Active
          6250 Ridgewood Rd                                          When was the debt incurred?           7/17/12
          Saint Cloud, MN 56303
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.4      HRBlock/Emerald Card                                       Last 4 digits of account number       3336                                                $369.50
          Nonpriority Creditor's Name
          PO Box 10170                                               When was the debt incurred?
          Kansas City, MO 64171-0170
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.5      Santander Consumer USA                                     Last 4 digits of account number       1000                                              $5,023.00
          Nonpriority Creditor's Name
          Po Box 961245                                              When was the debt incurred?           Opened 06/16
          Ft Worth, TX 76161
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Deficiency Balance




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                                        Desc Main
                                                                     Document Page 26 of 52
 Debtor 1 Lillie Mosley Barthwell                                                                           Case number (if know)

 4.6       Synchrony Bank                                            Last 4 digits of account number         1816                                                       $512.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                                                                  Opened 04/06 Last Active
           Po Box 965060                                             When was the debt incurred?             7/19/12
           Orlando, FL 32896
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Charge Account


           Visa Dept Store National
 4.7       Bank/Macy's                                               Last 4 digits of account number         8030                                                       $835.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                                                                  Opened 10/91 Last Active
           Po Box 8053                                               When was the debt incurred?             7/19/12
           Mason, OH 45040
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Charge Account

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FBCS, Inc.                                                    Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 330 S. Warminster Rd                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 353
 Hatboro, PA 19040
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MRS BPO, LLC                                                  Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1930 Olney Ave                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Cherry Hill, NJ 08003
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NCB                                                           Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 One Allied Drive
 Trevose, PA 19053
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 4 of 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                                    Desc Main
                                                                     Document Page 27 of 52
 Debtor 1 Lillie Mosley Barthwell                                                                       Case number (if know)

 NCB Management Services                                       Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 1099                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Langhorne, PA 19047
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                             Total Claim
                        6a.   Domestic support obligations                                               6a.       $                          0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.       $                          0.00

                                                                                                                             Total Claim
                        6f.   Student loans                                                              6f.       $                          0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                                $                     7,451.50

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.       $                     7,451.50




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 5 of 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                  Case 18-02013-hb                    Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                         Desc Main
                                                                      Document Page 28 of 52
 Fill in this information to identify your case:

 Debtor 1                  Lillie Mosley Barthwell
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                 Case 18-02013-hb                       Doc 1            Filed 04/20/18 Entered 04/20/18 08:38:12              Desc Main
                                                                         Document Page 29 of 52
 Fill in this information to identify your case:

 Debtor 1                   Lillie Mosley Barthwell
                            First Name                            Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                Case 18-02013-hb              Doc 1       Filed 04/20/18 Entered 04/20/18 08:38:12                               Desc Main
                                                          Document Page 30 of 52


Fill in this information to identify your case:

Debtor 1                      Lillie Mosley Barthwell

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF SOUTH CAROLINA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00    $               N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00           $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
            Case 18-02013-hb               Doc 1       Filed 04/20/18 Entered 04/20/18 08:38:12                                   Desc Main
                                                       Document Page 31 of 52

Debtor 1    Lillie Mosley Barthwell                                                               Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
      5e.    Insurance                                                                     5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
      5g.    Union dues                                                                    5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $               N/A
      8d. Unemployment compensation                                                        8d.        $          0.00         $               N/A
      8e. Social Security                                                                  8e.        $      1,125.00         $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                     N/A
      8g. Pension or retirement income                                                     8g. $             1,288.75   $                     N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                     N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,413.75         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,413.75 + $             N/A = $          2,413.75
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $         2,413.75
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
           Case 18-02013-hb                   Doc 1         Filed 04/20/18 Entered 04/20/18 08:38:12                                  Desc Main
                                                            Document Page 32 of 52


Fill in this information to identify your case:

Debtor 1                 Lillie Mosley Barthwell                                                           Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF SOUTH CAROLINA                                                 MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             862.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
         Case 18-02013-hb                    Doc 1          Filed 04/20/18 Entered 04/20/18 08:38:12                                     Desc Main
                                                            Document Page 33 of 52

Debtor 1     Lillie Mosley Barthwell                                                                   Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 150.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                  80.00
      6d. Other. Specify: Trash Pick-up                                                      6d. $                                                  44.00
7.    Food and housekeeping supplies                                                           7. $                                                350.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 30.00
10.   Personal care products and services                                                    10. $                                                  60.00
11.   Medical and dental expenses                                                            11. $                                                  50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  50.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   76.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   60.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: prescriptions/over the counter medicine                         17c. $                                                  300.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,412.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,412.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,413.75
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,412.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    1.75

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                 Case 18-02013-hb                    Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                        Desc Main
                                                                     Document Page 34 of 52




 Fill in this information to identify your case:

 Debtor 1                    Lillie Mosley Barthwell
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Lillie Mosley Barthwell                                               X
              Lillie Mosley Barthwell                                                   Signature of Debtor 2
              Signature of Debtor 1

              Date       April 16, 2018                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                 Case 18-02013-hb                    Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                              Desc Main
                                                                     Document Page 35 of 52


 Fill in this information to identify your case:

 Debtor 1                  Lillie Mosley Barthwell
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                 lived there                                                                   lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                             Desc Main
                                                                     Document Page 36 of 52
 Debtor 1      Lillie Mosley Barthwell                                                                     Case number (if known)



5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social Security &                                           $7,203.00
 the date you filed for bankruptcy:   Pension

 For last calendar year:                           Social Security &                            $33,381.00
 (January 1 to December 31, 2017 )                 Pension

 For the calendar year before that:                Social Security &                            $28,812.00
 (January 1 to December 31, 2016 )                 Pension


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       OneMain                                                   2/5/18, 3/5/18 &                 $925.98            $5,589.00         Mortgage
       Attn: Bankruptcy                                          4/4/18                                                                Car
       601 Nw 2nd St                                                                                                                   Credit Card
       Evansville, IN 47708
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                              Desc Main
                                                                     Document Page 37 of 52
 Debtor 1      Lillie Mosley Barthwell                                                                     Case number (if known)



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Nationstar Mortgage LLC d/b/a Mr.                         Foreclosure                Greenwood County                            Pending
       Cooper                                                                               Court of Common Pleas                       On appeal
       vs                                                                                   528 Monument Street
                                                                                                                                        Concluded
       Lillie M. Barthwell, et al.c                                                         Greenwood, SC 29646
       2018-CP-24-00230


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                                Desc Main
                                                                     Document Page 38 of 52
 Debtor 1      Lillie Mosley Barthwell                                                                     Case number (if known)



 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Alecia Compton Law Office, LLC                                 Attorney Fees, Filing Fee, Credit Report                2/1/18, 2/8/18,           $1,500.00
       109 Oak Avenue                                                 Fee                                                     3/2/18
       Suite A
       Greenwood, SC 29646
       alecia@aleciacomptonlawoffice.com


       Compton Law Firm, P.A.                                         Attorney Fee                                            10/6/17 &                   $800.00
       212 Grace Street                                                                                                       12/6/17
       Greenwood, SC 29649




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
               Case 18-02013-hb                      Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                              Desc Main
                                                                     Document Page 39 of 52
 Debtor 1      Lillie Mosley Barthwell                                                                     Case number (if known)



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of           Type of account or          Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number             instrument                  closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?           Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                              have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access           Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                      have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                                   Desc Main
                                                                     Document Page 40 of 52
 Debtor 1      Lillie Mosley Barthwell                                                                           Case number (if known)



 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                  Status of the
       Case Number                                                    Name                                                                           case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                             Desc Main
                                                                     Document Page 41 of 52
 Debtor 1      Lillie Mosley Barthwell                                                                     Case number (if known)



             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Lillie Mosley Barthwell
 Lillie Mosley Barthwell                                                 Signature of Debtor 2
 Signature of Debtor 1

 Date      April 16, 2018                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                 Case 18-02013-hb                    Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12           Desc Main
                                                                     Document Page 42 of 52

 Fill in this information to identify your case:

 Debtor 1                  Lillie Mosley Barthwell
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         First Citizens Corp                                  Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        HHG                                               Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)


    Creditor's         Mr. Cooper                                           Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        115 Deadfall Road E                               Reaffirmation Agreement.
    property              Greenwood, SC 29649                               Retain the property and [explain]:
    securing debt:



    Creditor's         OneMain                                              Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        HHG                                               Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                           Desc Main
                                                                     Document Page 43 of 52

 Debtor 1      Lillie Mosley Barthwell                                                                Case number (if known)


    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)


    Creditor's     Quick Credit                                             Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      HHG                                                 Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)


    Creditor's     Security Finance                                         Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      HHG                                                 Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)


    Creditor's     Southern Finance                                         Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      HHG                                                 Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)


    Creditor's     Specialized Loan Servicing/SLS                           Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      115 Deadfall Road E                                 Reaffirmation Agreement.
    property            Greenwood, SC 29649                                 Retain the property and [explain]:
    securing debt:



    Creditor's     Western Shamrock Corp                                    Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      HHG                                                 Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                       Desc Main
                                                                     Document Page 44 of 52

 Debtor 1      Lillie Mosley Barthwell                                                               Case number (if known)


 Description of leased                                                                                                        Yes
 Property:

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Lillie Mosley Barthwell                                                  X
       Lillie Mosley Barthwell                                                          Signature of Debtor 2
       Signature of Debtor 1

       Date        April 16, 2018                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                 Case 18-02013-hb                    Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                                Desc Main
                                                                     Document Page 45 of 52

 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Lillie Mosley Barthwell
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of South Carolina                             2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                               0.00      $
  3. Alimony     and maintenance   payments.   Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                            $      0.00
        Ordinary and necessary operating expenses                        -$      0.00
        Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                    0.00      $
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                            $      0.00
        Ordinary and necessary operating expenses                        -$      0.00
        Net monthly income from rental or other real property            $       0.00 Copy here -> $                    0.00      $
                                                                                                       $                0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                           Desc Main
                                                                     Document Page 46 of 52
 Debtor 1     Lillie Mosley Barthwell                                                                  Case number (if known)



                                                                                                   Column A                     Column B
                                                                                                   Debtor 1                     Debtor 2 or
                                                                                                                                non-filing spouse
  8. Unemployment compensation                                                                     $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                       $            1,288.75        $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                     $                  0.00      $
                                                                                                   $                  0.00      $
                  Total amounts from separate pages, if any.                                  +    $                  0.00      $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $       1,288.75          +   $                   =   $      1,288.75

                                                                                                                                                Total current monthly
                                                                                                                                                income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                              Copy line 11 here=>            $          1,288.75

              Multiply by 12 (the number of months in a year)                                                                                       x 12
       12b. The result is your annual income for this part of the form                                                                12b. $          15,465.00

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  SC

       Fill in the number of people in your household.                        1
       Fill in the median family income for your state and size of household.                                                         13.   $         45,740.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Lillie Mosley Barthwell
                Lillie Mosley Barthwell
                Signature of Debtor 1
        Date April 16, 2018
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                   page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12              Desc Main
                                                                     Document Page 47 of 52
 Debtor 1    Lillie Mosley Barthwell                                                              Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 10/01/2017 to 03/31/2018.

Line 9 - Pension and retirement income
Source of Income: SC Retirement System
Income by Month:
 6 Months Ago:                                    10/2017                  $1,288.75
 5 Months Ago:                                    11/2017                  $1,288.75
 4 Months Ago:                                    12/2017                  $1,288.75
 3 Months Ago:                                    01/2018                  $1,288.75
 2 Months Ago:                                    02/2018                  $1,288.75
 Last Month:                                      03/2018                  $1,288.75
                                 Average per month:                        $1,288.75




Non-CMI - Social Security Act Income
Source of Income: Social Security
Income by Month:
 6 Months Ago:                                    10/2017                  $1,125.00
 5 Months Ago:                                    11/2017                  $1,125.00
 4 Months Ago:                                    12/2017                  $1,125.00
 3 Months Ago:                                    01/2018                  $1,125.00
 2 Months Ago:                                    02/2018                  $1,125.00
 Last Month:                                      03/2018                  $1,125.00
                                 Average per month:                        $1,125.00




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                             page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12                     Desc Main
                                                                     Document Page 48 of 52
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        District of South Carolina
 In re       Lillie Mosley Barthwell                                                                          Case No.
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,132.00
             Prior to the filing of this statement I have received                                        $                     1,132.00
             Balance Due                                                                                  $                        0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Debtor paid $800.00 in attorney's fees to Compton Law Firm, P.A.

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 16, 2018                                                                 /s/ Alecia T. Compton
     Date                                                                           Alecia T. Compton
                                                                                    Signature of Attorney
                                                                                    Alecia Compton Law Office, LLC
                                                                                    109 Oak Avenue
                                                                                    Suite A
                                                                                    Greenwood, SC 29646
                                                                                    (864) 450-9042 Fax: (864) 450-9046
                                                                                    alecia@aleciacomptonlawoffice.com
                                                                                    Name of law firm




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
              Case 18-02013-hb                       Doc 1           Filed 04/20/18 Entered 04/20/18 08:38:12               Desc Main
                                                                     Document Page 49 of 52


                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Lillie Mosley Barthwell                                                                          Case No.
                                                                                   Debtor(s)                 Chapter    7


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF


 Date: April 16, 2018                                                   /s/ Lillie Mosley Barthwell
                                                                        Lillie Mosley Barthwell
                                                                        Signature of Debtor

 Date: April 16, 2018                                                   /s/ Alecia T. Compton
                                                                        Signature of Attorney
                                                                        Alecia T. Compton
                                                                        Alecia Compton Law Office, LLC
                                                                        109 Oak Avenue
                                                                        Suite A
                                                                        Greenwood, SC 29646
                                                                        (864) 450-9042 Fax: (864) 450-9046
                                                                        Typed/Printed Name/Address/Telephone

                                                                        5847 SC
                                                                        District Court I.D. Number




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
    Case 18-02013-hb   Doc 1   Filed 04/20/18 Entered 04/20/18 08:38:12   Desc Main
                               Document Page 50 of 52

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        ALBERTELLI LAW
                        1201 MAIN STREET, STE 1450
                        COLUMBIA SC 29201


                        CHAD L. BACON, ESQ.
                        FOSTER LAW FIRM
                        601 E. MCABEE AVENUE
                        SUITE 104
                        GREENVILLE SC 29601


                        COMENITY CAPITAL/MPRC
                        PO BOX 182125
                        COLUMBUS OH 43218


                        FBCS, INC.
                        330 S. WARMINSTER RD
                        SUITE 353
                        HATBORO PA 19040


                        FINGERHUT
                        BANKRUPTCY DEPT
                        6250 RIDGEWOOD RD
                        SAINT CLOUD MN 56303


                        FIRST CITIZENS CORP
                        205 MAIN STREET
                        GREENWOOD SC 29646-2759


                        HRBLOCK/EMERALD CARD
                        PO BOX 10170
                        KANSAS CITY MO 64171-0170


                        IRS
                        PO BOX 7346
                        PHILADELPHIA PA 19101-7346


                        MR. COOPER
                        ATTN: BANKRUPTCY
                        8950 CYPRESS WATERS BLVD
                        COPPELL TX 75019


                        MRS BPO, LLC
                        1930 OLNEY AVE
                        CHERRY HILL NJ 08003
Case 18-02013-hb   Doc 1   Filed 04/20/18 Entered 04/20/18 08:38:12   Desc Main
                           Document Page 51 of 52


                    NCB
                    ATTN: BANKRUPTCY
                    ONE ALLIED DRIVE
                    TREVOSE PA 19053


                    NCB MANAGEMENT SERVICES
                    PO BOX 1099
                    LANGHORNE PA 19047


                    ONEMAIN
                    ATTN: BANKRUPTCY
                    601 NW 2ND ST
                    EVANSVILLE IN 47708


                    QUICK CREDIT
                    724B MONTAGUE AVE
                    GREENWOOD SC 29649


                    SANTANDER CONSUMER USA
                    PO BOX 961245
                    FT WORTH TX 76161


                    SC DEPT OF REVENUE
                    PO BOX 12265
                    COLUMBIA SC 29211


                    SECURITY FINANCE
                    446 CALHOUN AVENUE
                    GREENWOOD SC 29646


                    SOUTHERN FINANCE
                    213 MAIN STREET
                    GREENWOOD SC 29646-2759


                    SPECIALIZED LOAN SERVICING/SLS
                    ATTN: BANKRUPTCY
                    PO BOX 636005
                    LITTLETON CO 80163


                    SYNCHRONY BANK
                    ATTN: BANKRUPTCY
                    PO BOX 965060
                    ORLANDO FL 32896
Case 18-02013-hb   Doc 1   Filed 04/20/18 Entered 04/20/18 08:38:12   Desc Main
                           Document Page 52 of 52


                    VISA DEPT STORE NATIONAL BANK/MACY'S
                    ATTN: BANKRUPTCY
                    PO BOX 8053
                    MASON OH 45040


                    WESTERN SHAMROCK CORP
                    FDBA WESTERN FINANCE
                    801 S ABE ST STE A
                    SAN ANGELO TX 76903
